                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            BRYSON CITY DIVISION

                          CRIMINAL DOCKET NO. 2:93CR71-11


UNITED STATES OF AMERICA                     )
                                             )
                                             )
               vs.                           )              ORDER
                                             )
                                             )
JOHN DAVID WHITE                             )
                                             )


       THIS MATTER is before the Court on Defendant’s motion for termination of

supervised release.

       The Court has been advised by the Defendant’s supervising probation officer that

Defendant has complied with all conditions of his release to date and the probation officer has no

objections to the motion. Additionally, the United States has no objections to the termination of

supervised release. See Response to Defendant’s Motion to Terminate Supervised Release,

filed June 23, 2005.

       IT IS, THEREFORE, ORDERED that the Defendant’s motion for termination of

supervised release is ALLOWED, and the Defendant’s term of supervised release is hereby

TERMINATED.




       Case 2:93-cr-00071-LHT         Document 543        Filed 06/23/05      Page 1 of 2
                         Signed: June 23, 2005




Case 2:93-cr-00071-LHT    Document 543     Filed 06/23/05   Page 2 of 2
